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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued January 11, 2017            Decided February 10, 2017

                                    No. 16-7055

                                   SINA CHENARI,
                                     APPELLANT

                                          v.

                         GEORGE WASHINGTON UNIVERSITY,
                                  APPELLEE


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:14-cv-00929)



                Jason J. Bach argued the cause and filed the briefs for
            appellant. Tracy D. Rezvani entered an appearance.

                Nicholas S. McConnell argued the cause for appellee.
            With him on the brief was James N. Markels.

                Before: TATEL, MILLETT, and WILKINS, Circuit Judges.

                Opinion for the Court filed by Circuit Judge TATEL.

                TATEL, Circuit Judge: After George Washington
            University Medical School expelled appellant for cheating on
            an exam, he brought suit in federal court for breach of
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            contract and discrimination based on disability. The district
            court granted summary judgment to the University, deferring
            to its view that appellant broke its honor code and finding no
            violation of the relevant disability statutes. For the reasons set
            forth in this opinion, we affirm.

                                            I.
                 On December 14, 2012, appellant Sina Chenari, a third-
            year medical student at George Washington University, took
            the Step 1 Surgery Shelf Exam, a standardized test published
            by the National Board of Medical Examiners (NBME).
            Before the exam, the proctor read aloud the instructions from
            NBME’s official Chief Proctor’s Manual, including that
            students must complete the exam in two and a half hours and
            that “[n]o additional time [would] be allowed for transferring
            answers” from the test booklet to the answer sheet. Chenari
            also received a copy of the “Exam Guidelines,” which
            contained a similar warning.

                 In his deposition, Chenari explained that when the
            proctor called time, he discovered that he had failed to
            transfer some twenty or thirty answers from the test booklet to
            the front side of the answer sheet. According to Chenari, he
            “panicked” and “continued to transfer my answers.” Chenari
            Dep. 267:7–:9. The proctor “asked me to stop,” but “I
            continued to bubble in [the answer sheet].” Id. at 269:6–:18.
            When the proctor then “reached over me to try to get the
            exam, I just put my hand over the booklet and the exam and
            just continued to bubble in my answers.” Id. at 270:3–:6.
            Once Chenari finished, he “sat back” and the proctor “picked
            [the exam] up.” Id. at 278:21–280:11. As Chenari concedes,
            he ended up taking an additional “90 seconds to two
            minutes.” Id. at 271:12–:13.
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                The proctor reported Chenari to the medical school’s
            administration, as did another student present at the exam. In
            response, Associate Dean for Students Rhonda Goldberg met
            with Chenari to discuss the incident. According to Goldberg’s
            deposition, Chenari told her that he “needed to” finish
            bubbling in his answers but “probably made a mistake” by
            doing so. Goldberg Dep. 23:1–:3.

                 Pursuant to University procedures, Goldberg formed an
            Honor Code Council subcommittee to investigate. After
            holding a hearing, the subcommittee issued a report
            recommending Chenari’s dismissal for academic dishonesty.
            The subcommittee forwarded its recommendation to the
            Medical Student Evaluation Committee, and in a written
            statement to that Committee Chenari took responsibility for
            his “deplorable behavior” toward the proctor, acknowledging
            his “clear violation of the most basic rules of th[e]
            University.” Chenari Dep. Ex. 37 at 1. He nonetheless asked
            for leniency because, he insisted, his “behavior did not
            involve deception” and he had no prior disciplinary
            infractions. Id. After a hearing, the Committee unanimously
            recommended Chenari’s dismissal. The Medical School Dean
            then reviewed the reports, met with Chenari, and upheld the
            recommendation of dismissal. Now represented by counsel,
            Chenari appealed to the Provost, arguing in a written
            submission that his conduct lacked “an element of deceit” like
            “cheat[ing]” or “l[ying].” Chenari Dep. Ex. 40 at 1. Rather,
            his “mistake” was “completely out in the open.” Id. at 2. The
            Provost denied the appeal, and the University dismissed
            Chenari from the medical school.

                 On May 30, 2014, Chenari filed this action in the U.S.
            District Court for the District of Columbia seeking
            reinstatement and damages. He alleged several theories of
            relief. First, he argued that he never violated the University’s
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            Honor Code, so the University’s decision to dismiss him
            breached its contract with him and the contract’s implied
            covenant of good faith and fair dealing. Second, he claimed
            that he has a disability, Attention Deficit Hyperactivity
            Disorder (ADHD), which he alleged the University failed to
            accommodate in violation of the Rehabilitation Act (“Rehab
            Act”), 29 U.S.C. § 794(a), and the Americans with
            Disabilities Act (ADA), 42 U.S.C. § 12132. Although Chenari
            also claimed that he suffered from anxiety, he never argued,
            either here or in the district court, that his anxiety qualified as
            a disability under the disability statutes. See Adams v. Rice,
            531 F.3d 936, 943 (D.C. Cir. 2008) (describing “disability” as
            a “term of art under the statute[s]”). Finally, Chenari argued
            that the University discriminated against him for his ADHD
            and retaliated against him “when he began to advocate for his
            rights,” claims he does not pursue on appeal. Compl. ¶¶ 44,
            55. The University moved for summary judgment, which the
            district court granted. Chenari v. George Washington
            University, 172 F. Supp. 3d 38 (D.D.C. 2016).

                                            II.
                 We review an order granting summary judgment de novo,
            viewing the evidence and drawing all reasonable inferences in
            favor of the nonmoving party. Foster v. Sedgwick Claims
            Management Services, Inc., 842 F.3d 721, 725 (D.C. Cir.
            2016). Summary judgment is appropriate if the movant, here
            the University, “shows that there is no genuine dispute as to
            any material fact and the movant is entitled to judgment as a
            matter of law.” Fed. R. Civ. P. 56(a). “A dispute about a
            material fact is ‘genuine’ if the evidence is such that a
            reasonable jury could return a verdict for the nonmoving
            party.” Johnson v. Perez, 823 F.3d 701, 705 (D.C. Cir. 2016)
            (alteration, internal quotation marks, and citation omitted).
            We begin with Chenari’s contract claims.
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                                          A.
                 Under District of Columbia law, which governs here,
            “‘the relationship between a university and its students is
            contractual in nature.’” Manago v. District of Columbia, 934
            A.2d 925, 927 (D.C. 2007) (quoting Basch v. George
            Washington University, 370 A.2d 1364, 1366 (D.C. 1977)
            (per curiam)). In breach of contract cases against a university,
            “a judgment by school officials that a student has not
            performed adequately to meet the school’s academic
            standards is a determination that usually calls for judicial
            deference.” Alden v. Georgetown University, 734 A.2d 1103,
            1108 (D.C. 1999). This rule stems from the principle that a
            diploma publicly signals a school’s confidence in a student’s
            knowledge and skills, so the “‘decisions surrounding the
            issuance of these credentials [should] be left to the sound
            judgment of the professional educators who monitor the
            progress of their students on a regular basis.’” Id. at 1109
            (quoting Olsson v. Board of Higher Education, 402 N.E.2d
            1150, 1153 (N.Y. 1980)). A university “will be entitled to
            summary judgment unless the plaintiff can provide some
            evidence from which a fact finder could conclude that there
            was no rational basis for the decision or that it was motivated
            by bad faith or ill will unrelated to academic performance.”
            Id. (citation and internal quotation marks omitted). Similarly,
            to show that a university breached the implied covenant of
            good faith and fair dealing, a plaintiff must allege “either bad
            faith or conduct that is arbitrary and capricious” and, in
            resolving such cases, courts must not “substitut[e] their
            judgment improperly for the academic judgment of the
            school.” Wright v. Howard University, 60 A.3d 749, 754–55
            (D.C. 2013) (alteration and internal quotation marks omitted)
            (citing Allworth v. Howard University, 890 A.2d 194, 202
            (D.C. 2006); Alden, 734 A.2d at 1111 n.11). True, all these
            cases involve decisions about academic performance, not
            honor code violations, but Chenari does not argue—nor do we
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            decide—that a different standard should apply here. Cf.
            Hajjar-Nejad v. George Washington University, 37 F. Supp.
            3d 90, 116–18 (D.D.C. 2014) (“[C]ourts have concluded that,
            particularly for medical students, professional comportment
            issues fall under the umbrella of deference to academic
            decisions.”). Because the standards for breach of contract and
            implied covenant cases overlap, we address Chenari’s two
            claims together.

                  The University dismissed Chenari for violating its Honor
            Code. Section F(2)(a) of that Code prohibits students from
            “giv[ing] or receiv[ing]” unpermitted aid on tests and
            assignments, plagiarizing, falsifying reports, infringing on the
            rights of other students, or “violat[ing] any other commonly
            understood principles of academic honesty.” Goldberg Decl.
            Ex. A at 8. The University concluded that Chenari violated
            the Code’s “any other” clause by “knowingly continu[ing] to
            fill in his answers on his answer sheet after time was called
            and until he completed his answer sheet despite having been
            instructed by a university proctor three times to stop doing
            so.” Chenari Dep. Ex. 37 at 4. We agree with the district court
            that this represents a perfectly “rational basis” for disciplining
            Chenari. Alden, 734 A.2d at 1109. As the district court
            explained, Chenari “stole time,” gaining “an unfair advantage
            over the peers who adhered to the rules”—an obvious breach
            of an Honor Code that prohibits violation of “commonly
            understood principles of academic honesty.” Chenari, 172 F.
            Supp. 3d at 49; see Alden, 734 A.2d at 1111 (“Far from
            lacking a rational basis for dismissal, the Committee on
            Students had sufficient academic evidence in the record from
            which to determine that Alden should be dropped from the
            school's rolls.”).

                 Chenari nonetheless argues, for four separate reasons,
            that the University’s decision lacked a rational basis. First, he
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            points out that the proctor failed to cite the Honor Code or
            Exam Guidelines in her initial report to the University, but he
            cites nothing in the University’s rules requiring that she do so.
            Second, he claims that he made no “attempt . . . to conceal his
            actions.” Appellant’s Br. 19. This is absurd. Just as stealing is
            stealing, whether at gunpoint or in secret bank transfers, so
            cheating is cheating, whether in front of a proctor or behind
            the proctor’s back. Third, and “most importantly” to Chenari,
            the University scored his completed answer sheet and
            “determined that [he] did in fact pass the exam.” Appellant’s
            Br. 20. This too is absurd—so absurd that it hardly requires a
            response, other than to point out that Chenari may well have
            passed the exam because he took an additional ninety seconds
            to fill in his answer sheet.

                 Chenari’s only argument that could conceivably raise
            doubts about the University’s explanation is his assertion that
            transferring answers from a test booklet to the answer sheet
            after time expired represented a “common and accepted
            practice of the GWU medical school.” Appellant’s Br. 19. But
            if that is so, why in his deposition did Chenari state that he
            had seen his classmates do so “covertly,” and why, during the
            disciplinary process, did he characterize his conduct as an act
            “with blatant disregard for the rules and for the rights of my
            fellow students”? Chenari Dep. 272:21–:22, Ex. 37 at 1. In
            any event, whatever the common practice at the medical
            school, this exam was administered under NBME procedures,
            which expressly warned that “[n]o additional time will be
            allowed for transferring answers” from the test booklet to the
            answer sheet. Ruiz Decl. at 2.

                 Finally, Chenari argues that the University acted in bad
            faith by dismissing him rather than accommodating his
            ADHD. As the district court explained, however, Chenari has
            pointed to no record evidence that “the [University] or any
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            individual involved in the [disciplinary] process acted out of
            bad faith or ill will.” Chenari, 172 F. Supp. 3d at 48. Nor does
            he claim that dismissing him for cheating was either excessive
            or discriminatory. Chenari simply urges us to infer that the
            University acted in bad faith because it “did absolutely
            nothing to help him.” Appellant’s Br. 20. But even if such an
            inference would be appropriate, Chenari’s argument turns
            entirely on how the University in fact responded to his
            claimed disability, an issue to which we now turn.

                                            B.
                  Chenari argues that the University discriminated against
            him in violation of Title II of the ADA, 42 U.S.C. § 12132,
            and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794(a).
            Title II, however, prohibits discrimination only by a “public
            entity,” a term the ADA defines as “any State or local
            government,” an instrumentality of a state or local
            government, “the National Railroad Passenger Corporation,
            and any commuter authority.” 42 U.S.C. §§ 12131(1), 12132.
            Because George Washington University, a private institution,
            fits none of these definitions, Chenari’s Title II claim fails. Cf.
            Singh v. George Washington University School of Medicine
            and Health Services, 508 F.3d 1097, 1105 (D.C. Cir. 2007)
            (citing 42 U.S.C. § 12182) (deciding a similar case under
            Title III of the ADA, which prohibits discrimination by a
            “place of public accommodation”). This pleading error,
            however, makes little difference because Chenari may pursue
            his claim under Section 504 of the Rehabilitation Act. See
            American Council of the Blind v. Paulson, 525 F.3d 1256,
            1260 n.2 (D.C. Cir. 2008) (explaining that the Rehab Act and
            Title II of the ADA “are similar in substance and
            consequently cases interpreting either are applicable and
            interchangeable” (alterations, citations, and internal quotation
            marks omitted)); Harrison v. Rubin, 174 F.3d 249, 253 (D.C.
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            Cir. 1999) (“Claims and defenses under the two statutes are
            virtually identical.”).

                 To prevail on his failure-to-accommodate claim, Chenari
            must “produce sufficient evidence (a) that [he] was disabled
            for the purposes of the Rehabilitation Act, (b) that [the
            University] had notice of [his] disability, and (c) that [the
            University] denied [his] request for a reasonable
            accommodation of [his] disability.” Stewart v. St. Elizabeths
            Hospital, 589 F.3d 1305, 1307–08 (D.C. Cir. 2010) (citations
            omitted); see Davis v. Shah, 821 F.3d 231, 259–60 (2d Cir.
            2016) (“A plaintiff may base her [section 504] discrimination
            claim on . . . failure to make a reasonable accommodation.”);
            see also American Council, 525 F.3d at 1260 & n.2, 1266–67
            & n.14 (allowing a failure-to-accommodate theory to proceed
            under the Rehab Act and “constru[ing] section 504 in pari
            materia with Title II of the ADA”); McElwee v. County of
            Orange, 700 F.3d 635, 640 & n.2 (2d Cir. 2012) (treating as
            “interchangabl[e]” Title II’s “reasonable modifications”
            requirement and Title I’s “reasonable accommodations”
            requirement). The district court granted summary judgment to
            the University because, in its view, Chenari had offered no
            evidence showing either that the University had notice of his
            disability or that he had requested an accommodation.
            Chenari, 172 F. Supp. 3d at 51–56.

                 On appeal, Chenari insists that he did give the University
            notice of his ADHD. In support he cites his deposition, in
            which he claims that, in a meeting with Goldberg and another
            University official in October 2012—two months before the
            surgery exam—he informed them of his ADHD diagnosis,
            including that he had been prescribed medication for the
            disorder. In her deposition, however, Goldberg denied
            Chenari’s account of the meeting, claiming that they
            discussed only his academic performance.
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                  This is a classic “genuine dispute as to [a] material fact.”
             Fed. R. Civ. P. 56(a). Under oath, Chenari testified that he
             informed Goldberg of his ADHD. Under oath, Goldberg
             denied it. At summary judgment, a court “may not . . . believe
             one witness over another if both witnesses observed the same
             event in materially different ways.” Johnson, 823 F.3d at 705.
             Indeed, a court “may not believe” the movant’s witness—here
             the University’s—given its obligation to view the record “in a
             light most favorable to the nonmoving party”—here, Chenari.
             Robinson v. Pezzat, 818 F.3d 1, 8 (D.C. Cir. 2016).

                  In dismissing Chenari’s testimony as “insufficient to
             create a genuine dispute of material fact,” Chenari, 172 F.
             Supp. 3d at 54, the district court applied the well-accepted
             rule that courts may “lawfully put aside testimony that is so
             undermined as to be incredible.” Robinson, 818 F.3d at 10
             (quoting Johnson v. Washington Metropolitan Area Transit
             Authority, 883 F.2d 125, 128 (D.C. Cir. 1989), abrogated on
             other grounds by Robinson v. District of Columbia, 580 A.2d
             1255, 1258 (D.C. 1990)). That scenario is “most likely when a
             plaintiff’s claim is supported solely by the plaintiff’s own
             self-serving testimony, unsupported by corroborating
             evidence, and undermined either by other credible evidence,
             physical impossibility or other persuasive evidence that the
             plaintiff has deliberately committed perjury.” Johnson, 883
             F.2d at 128. This is not such a case.

                  The University cites nothing to indicate that Chenari’s
             testimony is “undermined . . . by other credible evidence,
             physical impossibility or other persuasive evidence.”
             Moreover, as this court has explained, evidence sufficient to
             dismiss a plaintiff’s uncorroborated, self-serving testimony—
             the situation here—is “rare[].” Robinson, 818 F.3d at 10. For
             example, summary judgment is proper when a plaintiff’s
             statement is demonstrably false after review of a “quite
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             clear[]” videotape, or when the testimony is contradicted by
             “multiple disinterested witnesses.” Id. (citing Scott v. Harris,
             550 U.S. 372, 378 (2007); Johnson, 883 F.2d at 128–29).
             Here, by contrast, we have only Goldberg’s contradictory
             testimony and, as the district court pointed out, that Chenari
             never mentioned his ADHD in other meetings with University
             officials, including during his disciplinary proceedings. See
             Chenari, 172 F. Supp. 3d at 52–54. Those facts certainly go to
             Chenari’s credibility, but nothing about them is “remotely
             compelling enough to require a jury to disregard” his
             testimony. Robinson, 818 F.3d at 11.

                  Although the district court thus erred in granting
             summary judgment on the notice question, this does not end
             the matter. As explained above, in order to prevail on his
             failure-to-accommodate claim, Chenari must demonstrate not
             only that he gave notice, but also that the University denied a
             requested accommodation. After considering the evidence, the
             district court found that Chenari failed to seek a reasonable
             accommodation. See Chenari, 172 F. Supp. 3d at 54–56.

                  Chenari concedes that he never requested an
             accommodation, but argues that his “repeated notifications to
             the administration created an obligation on [the University] to
             investigate and implement reasonable accommodations.”
             Appellant’s Br. 28. To be sure, there may well be cases where
             the plaintiff’s need for an accommodation is so apparent that
             the defendant must offer one regardless of whether the
             plaintiff requested it. See, e.g., Pierce v. District of Columbia,
             128 F. Supp. 3d 250, 269–70 (D.D.C. 2015) (rejecting “the
             District’s suggestion that a prison facility need not act to
             accommodate an obviously disabled inmate if the inmate does
             not ask for accommodations”). Although we doubt that this is
             such a case, we have no need to consider the question given
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             that the record makes abundantly clear that the University did
             offer Chenari an accommodation.

                  As Chenari conceded in his deposition, University
             officials twice referred him to counseling and therapy,
             including once to a specific counselor to deal with his anxiety
             about a course involving roleplaying. Chenari acknowledged
             that he never followed up on those referrals, insisting that he
             had “no time,” though he never requested time off to seek
             therapy—as he also concedes. Chenari Dep. 246:8–:9.

                  In addition to these express offers of assistance, the
             University has an Office of Disability Support Services,
             which, according to its director, “receive[s] and evaluate[s]
             requests for accommodations from students.” McMenamin
             Decl. 1. Goldberg explained in her declaration that she tells
             all first-year students that “if they have a disability and need
             to request an accommodation, it is the student’s responsibility
             to go to [the Office] to pursue that matter.” Goldberg Decl. 1.
             Moreover, the University’s “First Year Survival Guide” for
             medical students instructs “[s]tudents who suspect that they
             may have a disability[] which may require an
             accommodation” to contact the Office.

                  Finally, the Office of Disability Support Services
             maintains a website that walks students through the process
             for obtaining a reasonable accommodation. See Disability
             Support      Services,    George Washington         University,
             https://disabilitysupport.gwu.edu/ (last visited Feb. 2, 2017).
             At the time Chenari attended the University, the website
             included specific instructions about how students with ADHD
             could obtain accommodations. Although Chenari testified that
             he “did not know” about the website, he admitted receiving
             and “looking through” the First Year Survival Guide, and as
             noted above, Goldberg reported that she told all entering
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             students about the disability office. Chenari Dep. at 176:19,
             186:18–19.

                  To sum up, then, the University not only twice offered
             Chenari counseling, but also, through its Disability Office and
             that office’s website, offered all students a procedure for
             obtaining any reasonable accommodation they might need.
             The Rehabilitation Act requires nothing more.

                                          III.
                 For the foregoing reasons, we affirm.

                                                                So ordered.
